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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 19-8100-WM


 UNITED STATES OF AMERICA,

       Plaintiff,

 vs.

 YUJING ZHANG,

       Defendant.
 ___________________________________/


   DEFENDANT'S INVOCATION OF RIGHT TO SILENCE AND COUNSEL

       The defendant, Yujing Zhang, through counsel, hereby invokes his rights to

 remain silent and to counsel with respect to any and all questioning or

 interrogation, regardless of the subject matter, including, but not limited to:

 matters that may bear on or relate to arrest, searches and seizures, bail, pretrial

 release or detention, evidence at trial, guilt or innocence, forfeitures; or that may be

 relevant to sentencing, enhanced punishments, factors applicable under the United

 States Sentencing Guidelines, restitution, immigration status or consequences

 resulting from arrest or conviction; appeals or other post-trial proceedings.

       The defendant requests that the United States Attorney ensure that this

 invocation of rights is honored, by forwarding a copy of it to all law enforcement

 agents, government officials, or employees associated with the investigation of any

 matters relating to the defendant. Any contact with the defendant must be made
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 through the defendant=s lawyer, undersigned counsel.

                                                Respectfully submitted,

                                                MICHAEL CARUSO
                                                FEDERAL PUBLIC DEFENDER

                                                By: s/Robert E Adler
                                                Robert E Adler
                                                Assistant Federal Public Defender
                                                Attorney for Defendant
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                                                Suite 500
                                                West Palm Beach, Florida 33401
                                                (561) 833-6288 - Telephone
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                            CERTIFICATE OF SERVICE

       I HEREBY certify that on April 2, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.           I also certify that the

 foregoing document is being served this day on all counsel of record via

 transmission of Notices of Electronic Filing generated by CM/ECF or in some other

 authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.



                                          s/Robert E. Adler
                                          Robert E. Adler
